Rudolph Kirkpatrick
1201 Seigle Ave
Charlotte, NC 28205
(704) 493-8022


July 28, 2020

The Honorable Max O. Cogburn
United States District Judge
Charles R Jonas Federal Building
401 W. Trade St
Charlotte, NC 28202

Dear Judge, Cogburn:

         My name is Rudolph Kirkpatrick, I am the senior dispatcher for Royal Cab & Transportation
Company as well as the uncle of Alexander Smith. I have been around this young man all his life; I was
the one that carried him across the stage at his first baby pageant.
         I have watch him grow to the young man he is today and I’m very proud of the way he has
handle life. He’s always been there to help his mother and little sister. I watch him as he taught himself
how to work on cars and computers, this a good young man sir. He is a father now and I watched him
really change once his baby boy was born, he has been a great dad for this baby.
         Your honor I’m a military veteran I have talked to my nephew several times about joining the
military and he has always told me he wasn’t the type for military. My nephew has always told me he
follows the Koran and, in the Koran, like in the bible they preach nonviolence so when I found out
someone was accusing my nephew of wanting to go harm others, it was very shocking.
         Judge Cogburn this is a good young man who got himself into some nonsense and didn’t know
how to get out until it was to late, but I know in my heart he would never go anywhere to fight anyone
especial an enemy of the Untied States.
         Your Honor I ask humbly for you to please have sympathy for my nephew he made a huge
mistake and I know he is regretting every minute of it.


Sincerely Your



Rudolph Kirkpatrick




      Case 3:17-cr-00182-MOC-DSC Document 106 Filed 07/28/20 Page 1 of 8
April Gulledge

6941 Rolling Ridge Rd

Charlotte NC 28211

(704) 365 9879




Dear Honorable Judge Cogburn,

            My name is April Gulledge and I am the maternal aunt of Alexander Smith. I have watched him
grow from infancy to adulthood and one thing I can say is he has a big heart and is always eager to help
any one in need. He is also very protective of his family and is family oriented. In the past several
months since his incarceration, all he has spoken of is coming home so he can help provide for his
family. He is a thoughtful person and loves his family and friends. He is the only male in his household.
Along with his mother and his wife, his household consists of 7 children. 5 of which belong to his
younger sister who is not involved in their lives and 2 of his own children one of which he hasn’t even
seen or touched. His wife gave birth to his daughter August 2. It is very unlikely that he will break any
laws in the future because he doesn’t want to miss any more time with his children. This man loves his
kids more than anything in this world. This separation is killing him, and he will never want to experience
it again.

            Alexander has been helping provide for his family, especially the last 3 years. He has worked
jobs ranging from Armed Security to a Forklift Operator to help provide for his family. No work is big or
small for him as long as it provides for his family. This whole ordeal has made him appreciate his family
and their time together so much more than before.

            Even though he was found guilty during his jury trial, the offence is out of character for him. He
isn’t what the indictment stated. He isn’t this radical individual. He committed a non-violent crime
according to the US government. However, he is not this threat that the government has made him out
to be. This entire ordeal has disgraced his name, reputation, and status in society. I ask the court to have
sympathy on my nephew.

            Sincerely

            April Gulledge




       Case 3:17-cr-00182-MOC-DSC Document 106 Filed 07/28/20 Page 2 of 8
Case 3:17-cr-00182-MOC-DSC Document 106 Filed 07/28/20 Page 3 of 8
Donna Adams

4807 Waxhaw Marvin Rd

Waxhaw NC 28173

704-441-9990



Dear Honorable Judge Cogburn,

        My name is Donna Adams and I am the mother of Alexander Smith. I have raised my children to
always be kindhearted and treat people equally. He has always been willing to help anyone in need.
Weather they are strangers or friends. My son would do anything for his family. For the last 3 years
especially, he has stepped up and helped keeping a roof over our heads. Our household including him at
the time was 3 adults and 5 kids. He is the only adult male in the household that provided security and
was the man of the house. With him not being here, it leaves his wife and I vulnerable in the feeling of
insecurity and not being able to fully protect ourselves or our children in the home. I am taking care of
my youngest daughters 5 children and I was laid off from my job. He stepped up and took whatever jobs
that he could find to help with the bills. At one point he was working 2 jobs to help with the necessities.
My 5 grandchildren do not have an active father in their lives, Alexander filled that space for them. He
took the boys under his wing with football and other sports he would play with them. My oldest
grandson play on the local football team and Alexander would teach him different techniques to be
better. He went to almost all the games and practices while he could. He would help all of them with
their homework and listened to them talk about their fears and aspirations and always provided them
with support and love in whatever they pursued. After he had his son, he truly realized what it was like
to be a father. I gave birth to him he grew up without a father in his life, but he was determined to be a
part of his son’s life. He worked whatever job he could find at the time to provide for his family to make
sure his sons did it go without.

        Alexander had 8 months to spend with his son who is now 14 months old. His daughter was
born August 2nd, 2019. He was not there. he has missed milestones in their lives which is why I can say
he will not be breaking any laws in the future. He doesn't want to miss out on any more time with his
family. His incarceration has left his wife and I solely responsible for 7 children ranging from age 12 to
newborn. All he speaks of every time we speak is getting home to provide for his family. This whole
ordeal has taught him a lot. Things aren't as they seem and to look out for his family before anyone else.
We as a family stand behind him 10 toes down. The guilty verdict at his trial shook us all. We thought




      Case 3:17-cr-00182-MOC-DSC Document 106 Filed 07/28/20 Page 4 of 8
the court in the jury would see he isn't with the government made him out to be. Nevertheless, he isn't
the radical person who he was portrayed as. He's a good man with a good heart and I asked the court an
Honorable Judge Cogburn to see this show him sympathy. Your honor, my son is a kind hearted person
that has love for this family in harm's way in allepo. The government saw this and used it as an
opportunity to entrap him to in to thing he never had intentions on doing. If he was such a threat, why
did it take government to let him be free and purchase firearms and obtain his ccw for 3 years of the
investigation. My son had ample opportunity to travel if he really wanted to. His passport was valid, he
had the money but he did not make any plans to go anywhere. He was released on bond for 2 ½ years
with no incident. AS you heard on the recordings, since he could not be charged with anything else, they
are charging him with lying. A lie that wouldn’t have existed if it wasn’t created by the government. He
lied to avoid incriminating himself. He knew ifhe told the truth it would make him look like what the
governemet isshowinghimas where is reality that is not the case.




Donna Adam




      Case 3:17-cr-00182-MOC-DSC Document 106 Filed 07/28/20 Page 5 of 8
Palak Sheth

4807 Waxhaw Marvin Rd

Waxhaw NC 28173

980-210-0042




Dear Honorable Judge Cogburn,

        My name is Palak Sheth and I am the wife of Alexander Smith. I have known Alexander since we
were 16 years old. We have been through almost every milestone in life together. When my family and I
were having our difference and I was left with no place to go, Alexander and his family didn't hesitate to
take me in. After so many years together, I can confidently say I know this man inside and out. He has a
heart of gold and is always eager to help anyone in need. There are many different instances that
occurred, but one example is Alexander was supposed to pick me up from work and when he arrived, he
had a woman and her daughter in the backseat. Of course, my initial reaction was not pleasant but turns
out she broke down on the highway. She and her daughter were alone and not from the area. He picked
them up so they wouldn't be stranded there alone, came and picked me up, and then went back to their
vehicle to assist them to get it running again. This is all for someone that he didn't know. Just because he
saw them in need.

        After 13 years together, we got married July 15, 2017. For our first anniversary, we became
parents to our son Adam on 07/02/2018. He is an amazing father and provider. He was the sole provider
at the time of his incarceration. Our household consists of my mother in law, myself, our 5 nieces and
nephews and our children. At the time, my mother in law and myself were not working. After being
found guilty at his jury trial March 22, 2019, I found myself pregnant with our second child, our
daughter, who I gave birth to August 02, 2019. Our son had 8 months’ worth of memories that I
captured that he can look back on and reminisce the times with his father. My daughter, however,
hasn't had the same luxury. Our family has been struggling tremendously since his incarceration. When
he was initially indicted, him and I were both released from our jobs due to the allegations. Both Of us
had to find odd jobs to make ends meet. Throughout the course of time, it became harder for him to
hold employment due to the restrictions place on him. But this did not deter him, he continued to look




      Case 3:17-cr-00182-MOC-DSC Document 106 Filed 07/28/20 Page 6 of 8
for a job even when it uncertain if he was going to be able to continue employment with the company
due to his restrictions.

        my husband's intentions will never but the government made them out to be. His only concern
with the safety of a family that had taken him in as their own. Showing him love and respect and in
return he wanted to do the same thing by making sure they were safe in a place of turmoil. his intention
was never to leave this country to go anywhere however he continued the facade that he would be
willing with the person unbeknownst to him was an FBI informant. All he wanted to do would make sure
they were OK. The lies that he has been found guilty of were only said because of the scenario the FBI
had created in his life. your honor we are good people and because of his good heart e blindly believed
this man was a well-wisher of this family. Instead, he set him up to take the fall for something that he
had no intentions of even doing. I ask the courts and honorable judge Cogburn to provide leniency to
my husband. I hope you will be giving a fair judgement during his sentencing as you have done in the
past hearings. you heard the tapes and you have all the transcripts at hand to know what is what. The
argument that he didn’t have the funds to travel is incorrect. He had ample funds after flipping the cars
he flipped with the FBIs second informant. Instead, he split the money with this man to be fair to him for
his labor and money he put into the car. If he was really wanting to leave, what would posses him to be
fair to this man when he had other plans with the money? Because he has a conscience your honor. He
knew that man was coming out to help him and help himself. The informant was a very good actor with
a sob story about his family and daughter, Alexander knew he was in a bind just as bad as he was. So, he
split the money with this man in hopes that it helped him and his family. Wouldn’t you think if he had ill
intentions in his mind, he wouldn’t care about this man and his family. He would take everything to pay
for the cause that the government planted in his path.

        I love my husband and know in the deepest part of my heart this was all a ploy to trap him into
something he wanted no parts of. He is a good man with a good heart that was roped into a situation
with the false information that is was for the benefit of this family when it was for the benefit of the
government to use him as a scapegoat. I truly hope that the courts see all the letters that are submitted
and can make a fair judgement.




        Sincerely,

        Palak Sheth




      Case 3:17-cr-00182-MOC-DSC Document 106 Filed 07/28/20 Page 7 of 8
Case 3:17-cr-00182-MOC-DSC Document 106 Filed 07/28/20 Page 8 of 8
